Case 1:03-cV-01237-.]DB-tmp Document 34 Filed 06/09/05 Page 1 of 4 Page|D 62

UNITED sTATEs DISTRICT coURT F"'ED BY ‘ %*10-
“”ESTER§A‘;&S§I;“§€§€I'§HSNESSEE “SJUH-Q PH t.» 33
JERRED wAsHINGTON, ) @F “=H: MEMPH»S
Plaintiff, §
vs. § Civil Action No.: 1:03-1237-B/P
CORRECTIONS CORPORATION i
OF AMERICA, et al., )
Defendants. §

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears t0 the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Coni"erence on June 24, 2005. This matter being
agreeable with the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Daied:rhis cl dayof J`cv\€ ,2005.

b\/P€a»~

-J?'B'A'N'I'EI:"B'R'EEN
UNITED STATES"BI'SLF-RIGT-JUDGE

mqg`\s'l’rq'l"t’_

"Fh!s document entered on the docket sheet tn omp a ce----~
‘- al le 58 and/or 79(3) FHCP on

 

 

/3/

Case 1:03-cV-01237-.]DB-tmp Document 34 Filed 06/09/05 Page 2 of 4 Page|D 63

APPROVED FOR ENTRY:

raw 025/m

JAMES I. PENTECOST

BRANDON O. GIBSON

PENTECOST, GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, Tennessee 38305

ROBERT J. WALKER

MARK TIPPS

JOSEPH WELBORN

WALKER, BRYANT, TIPPS & MALONE
2300 One Nashville Place

WAYNE%H%/,AI/i%%%§ 6

ROBERT W. RITCHIE
RITCHIE, FELS & DILLARD
P.O. Box 1126

Knoxville, Tennessee 37901-1126

W. GASTON FAIREY

W. GASTON FAIREY, LLC
1722 Main Street, Suite 300
Colurnbia, South Carolina 29201

150 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424
COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

 

I certify that a copy ofthe foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box l 126,
Knoxville, TN 37901-1126 an W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,

Columbia, SC 29201 on June , 2005.

PENTECOST, GLENN & RUDD, PLLC

By:

?Q/M%M U, ><Z%M

J ames I. Pentecost (#011640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

ESTERN 1

oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:03-CV-01237 vvas distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

Joseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Wayne A. Ritohie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901--112

Robert W. Ritohie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901

J ames I. Penteoost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

W. Gaston Fairey

FAIREY PARISE & l\/[[LLS, P.A.
P.O. Box 8443

Columbia, SC 29202

Terry Williams

LAW OFFICES OF TERRY WILLIAMS
206 S. Third

Delavan, WI 531 15

Case 1:03-cV-01237-.]DB-tmp Document 34 Filed 06/09/05 Page 4 of 4 Page|D 65

Honorable J. Breen
US DISTRICT COURT

